     Case 2:23-cr-00231-JLS Document 23 Filed 06/06/24 Page 1 of 2 Page ID #:214



1

2

3

4

5

6

7

8                           UNITED STATES DISTRICT COURT

9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,               No. 2:23-cr-00231-JLS

11             Plaintiff,                    ORDER CONTINUING TRIAL DATE AND
                                             FINDINGS REGARDING EXCLUDABLE TIME
12                    v.                     PERIODS PURSUANT TO SPEEDY TRIAL
                                             ACT
13   KEVIN GREGORY,
                                             TRIAL DATE: 09/24/24
14             Defendant.

15

16

17        The Court has read and considered the Stipulation Regarding
18   Request for (1) Continuance of Trial Date and (2) Findings of
19   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
20   parties in this matter on June 6, 2024.        The Court hereby finds that
21   the Stipulation, which this Court incorporates by reference into this
22   Order, demonstrates facts that support a continuance of the trial
23   date in this matter, and provides good cause for a finding of
24   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
25        The Court further finds that: (i) the ends of justice served by
26   the continuance outweigh the best interest of the public and
27   defendant in a speedy trial; (ii) failure to grant the continuance
28   would be likely to make a continuation of the proceeding impossible,
     Case 2:23-cr-00231-JLS Document 23 Filed 06/06/24 Page 2 of 2 Page ID #:215



1    or result in a miscarriage of justice; and (iii) failure to grant the

2    continuance would unreasonably deny defendant continuity of counsel

3    and would deny defense counsel the reasonable time necessary for

4    effective preparation, taking into account the exercise of due

5    diligence.

6         THEREFORE, FOR GOOD CAUSE SHOWN:

7         1.     The trial in this matter is continued from June 25, 2024 to

8    September 24, 2024. The status conference hearing is continued to

9    September 6, 2024.
10        2.     The time period of June 25, 2024, to September 24, 2024,
11   inclusive, is excluded in computing the time within which the trial
12   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),
13   and (B)(iv).
14        3.     Nothing in this Order shall preclude a finding that other
15   provisions of the Speedy Trial Act dictate that additional time
16   periods are excluded from the period within which trial must
17   commence.    Moreover, the same provisions and/or other provisions of
18   the Speedy Trial Act may in the future authorize the exclusion of

19   additional time periods from the period within which trial must

20   commence.

21        IT IS SO ORDERED.

22

23    June 6, 2024
      DATE                                    HONORABLE JOSEPHINE L. STATON
24                                            UNITED STATES DISTRICT JUDGE
25

26

27

28

                                          2
